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                    IN THE UNITED STATES OF AMERICA
                 FOR THE SOUTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

 STATE OF ALABAMA, and                        )
 ALABAMA STATE PORT                           )
 AUTHORITY,                                   )
                                              )
       Plaintiffs,                            )
                                              )
 vs.                                          ) Case No.: 85-0642-CG
                                              )
 ALABAMA WOOD TREATING                        )
 CORPORATION, et al,                          )
                                              )
       Defendants.                            )


                                         ORDER

       The plaintiffs filed a satisfaction of judgment (Doc. 574) as to defendant

 Vertellus Specialties Inc. (“Vertellus”), for itself and as successor-in-interest of

 Reilly Industries, Inc., which was, in turn, the successor-in-interest of Reilly Tar &

 Chemical, Inc. (hereinafter, collectively, “Vertellus and the Reilly entities”) on

 September 30, 2011. Plaintiffs and Vertellus have also filed a joint motion for

 dismissal of claims by and against Vertellus and the Reilly entities in compliance

 with the consent decree entered on November 8, 2010 (Doc. 567). The joint motion

 for dismissal is hereby GRANTED, and all claims by and against Vertellus and the

 Reilly entities asserted in this action by any party at any time are, therefore,

 DISMISSED WITH PREJUDICE, with each party to bear its own costs.

       DONE and ORDERED this 24th day of October, 2011.


                                             /s/ Callie V. S. Granade
                                             UNITED STATES DISTRICT JUDGE
